                                                                                  Buccaneer Resources Liquidating Trust
                                         Case 14-60041 Document 1021-2   Filed Fees
                                                                  Professional in TXSB on 03/22/18 Page 1 of 1
                                                                                     September 2017 through February 2018


                                     Type      Date       Num             Name                      Memo                    Split              Debit      Credit   Balance
   66700 · Professional Fees
        CWPC
                                     Check   09/11/2017   1753   Compton & Wendler, P.C.    Invoice 44210     Texas Capital Bank 8111056217   12,515.20            12,515.20
                                     Check   09/18/2017   1754   Compton & Wendler, P.C.    44339             Texas Capital Bank 8111056217   12,519.00            25,034.20
                                     Check   10/23/2017   1760   Compton & Wendler, P.C.                      Texas Capital Bank 8111056217   12,693.85            37,728.05
                                     Check   11/15/2017   1762   Compton & Wendler, P.C.    Invoice 44761     Texas Capital Bank 8111056217   12,618.00            50,346.05
                                     Check   12/15/2017   1765   Compton & Wendler, P.C.    VOID:             Texas Capital Bank 8111056217        0.00            50,346.05
                                     Check   12/15/2017   1766   Compton & Wendler, P.C.    Invoice 45035     Texas Capital Bank 8111056217   12,782.10            63,128.15
                                     Check   02/15/2018   1773   Compton & Wendler, P.C.    -MULTIPLE-        Texas Capital Bank 8111056217   25,700.00            88,828.15
        Total CWPC                                                                                                                            88,828.15     0.00   88,828.15


        LL
                                     Check   09/22/2017   1756   Locke Lord LLP             Invoice 1357196   Texas Capital Bank 8111056217     500.00               500.00
                                     Check   11/15/2017   1761   Locke Lord LLP             Invoice 1362425   Texas Capital Bank 8111056217    1,100.50             1,600.50
                                     Check   11/22/2017   1763   Locke Lord LLP             Invoice 1370725   Texas Capital Bank 8111056217     100.00              1,700.50
        Total LL                                                                                                                               1,700.50     0.00    1,700.50


   Total 66700 · Professional Fees                                                                                                            90,528.65     0.00   90,528.65


TOTAL                                                                                                                                         90,528.65     0.00   90,528.65




EXHIBIT B                                                                                                                                                                      Page 1 of 1
